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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 23-60751-CIV-SMITH

BRETT GROVES,

       Plaintiff,

vs.

HEALTHCARE REVENUE RECOVERY
GROUP, LLC,

      Defendant.
______                                         /

                                ORDER OF FINAL DISMISSAL

       This matter is before the Court on the parties’ Joint Stipulation of Dismissal with Prejudice

[DE 10]. Accordingly, it is

       ORDERED that:

       1.      This matter is DISMISSED with prejudice.

       2.      All pending motions are DENIED as moot.

       3.      This case is CLOSED.

       DONE and ORDERED in Fort Lauderdale, Florida, this 19th day of May, 2023.




 cc:    All Counsel of Record
